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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                   Case No. 06-20663
                     Plaintiff,
                                                   HON: AVERN COHN
v.

D-15, ROBERT M. SILLS,

                     Defendant,
                                    /


         MEMORANDUM AND ORDER DENYING MOTION FOR NEW TRIAL
                      BASED ON NEW EVIDENCE

                                              I.

       This is a criminal case. Defendant, Robert M. Sills, after a seven day jury trial, was

found guilty of a violation of 21 USC §§ 841(a)(1) and 841(b)(1)(A)(ii)(II), Conspiracy to

Distribute Five Kilograms or More of Cocaine. Defendant has yet to be sentenced.

       Now before the Court is defendant’s Motion For New Trial Based On New Evidence

(Dkt. 565). The new evidence consists of (1) an airline ticket establishing that defendant

could not have been present at a drug transaction testified to by Danny Jones (Jones), a

government witness at trial, and (2) the affidavit of Jonathan Mitchell (Mitchell), describing

a statement by Jones that he was going to arrange for someone to kill defendant. The

government has responded. For the reasons which follow, the motion is DENIED.
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                                              II.

                                              A.

       At trial twelve witnesses testified in the government’s case. Eight of the witnesses

were law enforcement officers, including Drug Enforcement Administration agents, police

officers and a retired Internal Revenue Service agent. Four of the witnesses, including

Jones, were co-defendants who had pled guilty and were testifying pursuant to cooperation

agreements. The government introduced into evidence over sixty exhibits, including video

tapes, photographs of cocaine, drug paraphernalia, photographs of drug premises,

photographs of currency and automobiles, cellular phones, driver’s licenses, notebooks,

intercepted phone calls and a miscellany of other items, all related to drug activities.

                                              B.

       In general the proofs at trial were such that a properly instructed jury (there were no

objections to the instructions) could find that defendant was a drug distributor for a national

group of people involved in drug activity known as the Black Mafia Family, and headed by

the Flenory brothers.

       The evidence at trial established the existence of the multi-member drug distribution

group operating in major American cities.

       Particularly, several witnesses testified that defendant received drugs from the

Flenory brothers for many years at various locations in St. Louis. These witnesses testified

to delivering drugs to defendant in St. Louis, and that on occasion defendant would open

hidden compartments in the automobiles in which the deliveries were made, both to retrieve

drugs and to place cash in them. Police officers testified as to the seizure of vehicles



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containing drugs which were being driven by members of the Black Mafia Family which

made deliveries to defendant. Ledger sheets reflecting drug transactions attributed to

defendant were also introduced into evidence.

                                             III.

                                              A.

       As to the airline ticket evidence, the evidence at trial established that defendant,

along with others, was arrested in the midst of a gambling party on October 25, 2005 at a

house in St. Louis. Jones testified that earlier on October 25, 2005 defendant had bought

drugs for cash at the house.

       Defendant says that newly discovered evidence in the form of an airline ticket

established that defendant was in Houston, Texas, the morning of October 25, 2005 and

did not arrive in St. Louis until the afternoon, and, therefore, could not have been at the

house the morning of October 25, 2005. Jones’ trial testimony on this point was a small

piece of the multiple drug activities implicating defendant which were testified to at trial.

       The government’s description of Jones’ testimony in its brief amply supports the

conclusion that the discrepancy that defendant proffers in Jones’ testimony did not play a

significant role in the proofs. The government says:

              [T]he jury’s presumed interpretation of Jones’ testimony is
              consistent with the rest of the overwhelming evidence in the
              case. There were telephone calls intercepted on the Title III
              wiretap referencing “Fat” and taking care of “Fat,” (Exhibit 2,
              Arnold Boyd’s testimony on February 5, 2009, Volume 4, pp.
              57-59); references to “Fat” and “Fat Cat” all throughout the
              drug ledgers (Exhibits 581 A-D; Exhibit 2, Arnold Boyd’s
              testimony on February 4, 2009, Volume 3, pp. 60-68) and the
              testimony of three additional co-defendant witnesses: (1)
              Arnold Boyd, who testified that he had personally delivered 40
              kilograms and then 75 kilograms of cocaine to defendant as

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             well as directed others to deliver cocaine to him (Exhibit 2,
             Transcript of Arnold Boyd’s testimony on February 4, 2009,
             Volume 3, p. 69); (2) Charles Parson, who testified that he had
             delivered cocaine to defendant personally on three occasions
             in 2004, 40 kilograms, 10 kilograms and 10 kilograms,
             respectively (Exhibit 3, Charles Parson’s testimony on
             February 5, 2009, Volume 4, p. 82); and (3) Walter Carroll, who
             testified that he personally delivered cocaine to defendant
             twice with his cousin, Stanley Lackey (Exhibit 4, Transcript of
             Walter Carroll’s testimony on February 6, 2009, Volume 5, pp.
             34-38). In short, the evidence of defendant’s flight records was
             not “material,” is offered now for impeachment purposes and
             is inconsequential in light of the evidence referenced above.

                                            B.

      As to the affidavit of Mitchell, which states that Jones told him that he was going to

arrange for the killing of defendant, the defendant says this displays an animus toward

defendant which is important to a proper assessment by the jury of Jones’ credibility.

      The government’s brief amply supports the conclusion that this evidence should

have been discovered by defendant before trial, and has little relevance to an assessment

of Jones’ credibility. The government says:

             Jonathan Mitchell was a potential witness known to defendant
             prior to trial. Mitchell was arrested along with defendant at 2
             Jamestown Place on October 26, 2005 and was referenced in
             the DEA report dated November 16, 2005, which chronicled
             the arrests. Moreover, in a DEA report dated June 4, 2008,
             which was provided to defendant, Danny Jones stated that
             Jonathan Mitchell is defendant’s “right-hand man” who
             distributed cocaine in the St. Louis area. Thus, Mitchell was a
             potential witness known to defendant, and based on the
             discovery provided, defendant could easily surmise what
             questions the government would have asked in response to his
             testimony, namely what his relationship was with defendant
             and whether he was defendant’s “right-hand man.” Defendant
             may have known that calling Mitchell as a witness could have
             been problematic because Mitchell could have incriminated
             himself had he testified. Providing an affidavit of immaterial
             statements from an individual known to defendant prior to trial
             where there were obvious issues with calling him as a witness
             and then calling it new evidence is simply not viable.

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      Additionally, the government says:

            [D]efendant knew Danny Jones was a witness, and he could
            have sought out witnesses to discredit Jones, which is what
            Mitchell’s affidavit attempts to do several months after trial.
            Instead, defendant presents an affidavit by an individual known
            to him prior to trial who says that Jones made statements to
            him about Sills, which presumably provides a motive for Jones
            to testify falsely against Sills.3 Had Mitchell been made
            available at trial and had he testified as his affidavit indicates,
            defendant would have brought up an issue that could have
            hurt, rather than helped, defendant at trial: Jones believed that
            defendant tried to have him killed because he was going to
            testify against him; the affidavit supports this belief. That,
            coupled with Jones’ obvious injuries while on the witness stand
            and additional testimony from Jones that he believed Sills tried
            to kill him may not have even been ruled admissible by the
            Court because of the prejudicial nature of the testimony. The
            Court may have had to protect defendant from himself by
            disallowing Mitchell’s testimony because of the counter to it the
            government would have been entitled to introduce – testimony
            from Jones that he believed defendant tried to kill him and in
            spite of that belief and fear, he was telling the truth because
            Sills was in fact a distributor of cocaine for the Flenory group.

            _____________________
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                  Defendant neglects to mention that there was an
                in camera hearing conducted prior to trial
                regarding Danny Jones’ belief that defendant was
                responsible for his injuries. Defendant was
                provided the October 15, 2008 DEA report
                chronicling Jones’ statement on the issue. At that
                hearing, the parties determined that there would
                not be any testimony elicited from Jones regarding
                his belief that defendant hired an individual to kill
                him because he was a witness against defendant.
                To now present Mitchell’s affidavit, which
                references Jones’ belief, and to suggest that it is
                new, admissible evidence is incredible.




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                                                 IV.

                                                 A.

        FED. R. CRIM. P. 33 (New Trial) provides that the Court may vacate a judgment and

grant a new trial if the interests of justice so require. To prevail on a motion for new trial

on the grounds of newly discovered evidence, a defendant must show that:

                   (1)    the new evidence was discovered after trial;
                   (2)    the evidence could not have been discovered with due
                   diligence;
                   (3)    the evidence is material and not merely cumulative or
                   impeaching; and
                   (4)    the evidence would likely produce an acquittal.

United States v. Garcia, 19 F.3d 1123, 1126 (6th Cir. 1994).

                                                 B.

        As described above, the newly discovered evidence which defendant predicates his

right to a new trial consists of

                   (1)   Flight records that show defendant flew from Houston,

                   Texas to St. Louis, Missouri, on October 25, 2005, arriving in

                   St. Louis at 6:50 pm.

                   (2)   The affidavit of Mitchell.

                                                 C.

        Defendant offers no explanation as to why the flight records were not available at

trial, which was almost four years after the flight which defendant says he took. Defendant

offers no explanation as to why he did not know of the Mitchell-Jones conversation until

after the trial.

                                                 D.


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      As stated in the government’s response to defendant’s motion:

             Well in advance of trial, defendant was provided discovery,
             including reports of witness statements (Danny Jones and of
             the other co-defendant witnesses who testified against him), a
             witness list that included Danny Jones and a detailed exhibit
             list. The government’s theory of the case against defendant
             was clear: he was the largest distributor of cocaine for Terry
             Flenory in St. Louis, and the government had persuasive
             evidence to support that theory (in addition to all of the
             evidence that he was part of the conspiracy, there was
             evidence that defendant’s nickname “Fat” or “Fat Cat” was
             written all throughout the drug ledgers, he was referenced in
             intercepted T-III calls and numerous co-defendant witnesses
             testified that they had delivered cocaine to Sills on multiple
             occasions). Had defendant been diligent, he could have
             obtained flight records in the intervening three and a half years
             between his arrest and trial, and he could have found his own
             witnesses to discredit Danny Jones or any other co-defendant
             witness. Because defendant cannot meet this initial standard
             – that he discovered this “new evidence” after trial – his motion
             must be denied pursuant to Rule 33. . . .

      This response by the government adequately explains why defendant’s papers fail

to support a finding that the evidence defendant proffers cannot be held newly discovered.

                                            E.

      In conclusion, as the government says:

             [D]efendant has not presented any new evidence to the Court.
             Instead, defendant provides a plane ticket receipt that could
             have been presented at trial because it was within defendant’s
             knowledge and control at the time of trial, and an affidavit
             supplied by a witness who could have been called as a witness
             at trial had defendant been diligent in preparing his defense.
             Defendant’s motion largely criticizes the testimony of co-
             defendant Danny Jones, despite defendant having had the
             opportunity for rigorous cross examination of Jones at trial. As
             argued below, defendant fails to meet the standards of Rule
             33, and his motion must be denied as a result.




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       It is for the foregoing reasons that defendant’s motion for new trial has been denied.


       SO ORDERED.



                                           s/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE


Dated: October 26, 2009


I hereby certify that a copy of the foregoing document was mailed to the attorneys of record
on this date, October 26, 2009, by electronic and/or ordinary mail.


                                           s/Julie Owens
                                          Case Manager, (313) 234-5160




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